             Case 1:20-cv-04997-LTS Document 40 Filed 10/16/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

 IDEAVILLAGE PRODUCTS CORP. et
 al.,

                 Plaintiffs,                                          No. 20 Civ. 4997 (LTS)

        -v-

 LIUZHOU WEIMAO MOBILE                                                ORDER
 ACCESSORY CO., LTD et al.,

                 Defendants.

-------------------------------------------------------x

                This matter having been commenced by the filing of a complaint on June 30,
2020, and the defendants having failed to interpose timely answers to the complaint or otherwise
move in this proceeding, and the plaintiffs having sought permission to move for a default
judgment, it is hereby

                 ORDERED, that the plaintiffs may make a motion for a default judgment; and it
is further

                ORDERED, that the plaintiffs' motion must be accompanied by evidence, in
admissible form, of such facts as it would have proffered to meet its burden of proof on its direct
case had a trial been held in this action; and it is further

               ORDERED, that such motion for default judgment must be served on the
defendants and must be accompanied by copies of the Clerk's Certificate and of proof of service
of the summons and complaint and the motion for default judgment as provided by the
undersigned's Individual Practices Rules; and it is further

               ORDERED, that said motion must be filed by December 31, 2020, shall be
briefed in accordance with the schedule set forth in Local Civil Rule 6.1, and will be taken on
submission unless otherwise directed by the Court; and it is further




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         Case 1:20-cv-04997-LTS Document 40 Filed 10/16/20 Page 2 of 3




               ORDERED, that plaintiffs must serve a copy of this Order on defendants and file
proof of such service within fourteen (14) days from the date hereof.


Dated: New York, New York
       October 16, 2020



                                                         /s/ Laura Taylor Swain
                                                         LAURA TAYLOR SWAIN
                                                         United States District Judge




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         Case 1:20-cv-04997-LTS Document 40 Filed 10/16/20 Page 3 of 3




IDEAVILLAGE - DEFPROVE ORD.DOCX        VERSION OCTOBER 16, 2020          3
